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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                            FOR THE NINTH CIRCUIT
                                                                    AUG 25 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 ALEJANDRO FLORES; et al.,                     No. 22-16762

                Plaintiffs - Appellees,
                                               D.C. No. 1:22-cv-01003-JLT-HBK
   v.                                          U.S. District Court for Eastern
                                               California, Fresno
 LORI BENNETT, Dr., in her individual
 and official capacities as President of       MANDATE
 Clovis Community College; et al.,

                Defendants - Appellants.


        The judgment of this Court, entered August 03, 2023, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT
